oOo oo a1 DBD A SF W NY

NO NO FS He HF FEF ESF PE SEO ESO le

N
co

DUPLICATE

DOMINIC ARCHIBALD, et al.,
Plaintiffs,

Vv.

COUNTY OF SAN BERNARDINO, et

Defendants.

 

 

 

ORIGINAL

“WL EL
CLERK, U.S. DISTRICT CO

At

MAR 13 20i8

care 5:16-cv-01128-AB-SP Document 154 Filed 03/13/18 Page 1of5 Page ID #:2528

|

|

CENTRAL DISTRICT OF CALIFORNIA
a _ DEPUTY

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. CV 16-01128-AB (SPx)
SPECIAL VERDICT FORM

 
Case 5:16-cv-01128-AB-SP Document 154 Filed 03/13/18 Page 2o0f5 Page ID #:2529

Oo on Dn wm F&F WwW NH FE

NR
oo

 

WE, THE JURY in the above-entitled action, unanimously find as follows on the

questions submitted to us:
QUESTION 1: Did Deputy Woods unreasonably detain or arrest Nathanael Pickett,

I? .
| “YES NO

If you answered “yes” to Question 1, please proceed to Question 2.

If you answered “no” to Question 1, please proceed to Question 3.

QUESTION 2: Was the unreasonable detention or arrest a cause of Nathanael

Pickett, II’s injury, damage, harm, or death?
YES NO.

Please proceed to the next question.

QUESTION 3: Did Deputy Woods use excessive or unreasonable force against

Nathanael Pickett, II? JS
YES " NO

If you answered “yes” to Question 3, please proceed to Question 4.

If you answered “no,” please proceed to Question 5.

QUESTION 4: Was Deputy Woods’ use of excessive or unreasonable force a cause

_of Nathanael Pickett, II’s injury, damage, harm, or death?
YES NO

Please proceed to the next question.

 
Case 5:16-cv-01128-AB-SP Document 154 Filed 03/13/18 Page 30f5 Page ID #:2530

oOo oY DA WA FB W NY &

Le a ee ee
PREP SRE MRE RB RGER EEE

tO
co

 

QUESTION 5: Did Deputy Woods unreasonably delay Nathanael Pickett, [I from

obtaining needed medical care?
YES V NO

If you answered “yes” to Question 5, please proceed to Question 6.

If you answered “no” to Question 5, please proceed to Question 7.
UESTION 6: Was the unreasonable delay in obtaining needed medical care a cause

of Nathanael Pickett, II’s injury, loss, damages, harm, or death?
YES : . NO

Please proceed to the next question.

QUESTION 7: Did Deputy Woods violently cause harm to Nathanael Pickett, II to .

prevent him from exercising his right not to be unreasonably detained or unreasonably

YES J NO

arrested?

Please proceed to the next question.

QUESTION 8: Was Deputy Woods negligent? /
YES ~ NO

If you answered “yes” to Question 8, please proceed to Question 9.
Ifyou answered “no” to Question 8, please proceed to Question 13.

Ifyou answered “no” to Questions 1, 3, 5, 7, and 8, please sign and return this form.

 
Case 5:16-cv-01128-AB-SP Document 154 Filed 03/13/18 Page 4of5 Page ID #:2531

io co nN HD A fF WW NY

Oa el ce
NReBepRRBBRBSEaBSaRVAARBNHE S

N
oo

 

QUESTION 9: Was Deputy Woods’s negligence a cause of Nathanael Pickett, II’s

death?
YES WV NO

Please proceed to the next question.

QUESTION 10: Was Nathanael Pickett, II negligent? J
. NO

YES

If you answered “yes” to Question 10, please proceed to Question 11.

If you answered “no” to Question 10, please proceed to Question 13.

QUESTION 11: Was Nathanael Pickett, II’s negligence a cause of his death?
YES NO

Please proceed to the next question.

QUESTION 12: What percentage of responsibility for Nathanael Pickett, II’s death

do you assign to the negligent conduct, if any, of the following?

Deputy Woods %
Nathanael Pickett, II %
TOTAL | 100 %

//

//

//

//

 
oOo co yn nA S&S W WH

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Case 5:16-cv-01128-AB-SP' Document 154 Filed 03/13/18 Page 5of5 Page ID #:2532

 

QUESTION 13: Was the conduct of Deputy Woods malicious, oppressive or in

reckless disregard of Nathanael Pickett, II’s rights?
- YES NO

Please sign and date this verdict form and return it to the Court.

Dated: 03 l l 3/ 206 Signed:

([slrectocted Ganckyre]

 
